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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

ELVA BENSON; and PATRINA
MOORE,

       Plaintiffs,

v.                                                          Case No. 6:20-cv-891-Orl-37LRH

ENTERPRISE LEASING COMPANY OF
FLORIDA, LLC; ENTERPRISE
LEASING COMPANY OF ORLANDO,
LLC; and ENTERPRISE HOLDINGS,
INC.,

       Defendants.


                                         ORDER

       Defendants move        to   dismiss    Plaintiffs’   amended complaint    (Doc.   35

(“Complaint”)) for lack of standing, lack of personal jurisdiction, and for failure to state

a claim. (Doc. 42 (“Motion”).) Plaintiffs responded (Doc. 46) and Defendants replied

(Doc. 51). On review, the Motion is denied, in part without prejudice to allow for

jurisdictional discovery.

                                   I.        BACKGROUND

       In this putative class action, Plaintiffs allege their former employers—

Defendants—violated the Worker Adjustment and Retraining Notification Act (“WARN

Act”) by dismissing them with little to no notice. (Doc. 35.)

       Defendants Enterprise Leasing Company of Florida, LLC (“Enterprise Florida”)


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and Enterprise Leasing Company of Orlando, LLC (“Enterprise Orlando”) are both

wholly owned subsidiaries of Defendant Enterprise Holdings, Inc. (“EHI”). (See Doc. 35,

¶ 54; see also Doc. 42, p. 35 ¶ 4, p. 43 ¶ 4.) Plaintiff Elva Benson (“Benson”) worked as a

rental agent for an Enterprise company at the Orlando airport; Plaintiff Patrina Moore

(“Moore”) worked as an Enterprise clerk at the Tampa Airport. (Doc. 35, ¶¶ 20–21, 27–

29.) The parties dispute whether Benson and Moore each worked solely for Enterprise

Orlando and Enterprise Florida, respectively, or if EHI is also their employer. (See id; cf.

Doc. 42, pp. 6–9, p. 37 ¶ 20, p. 43, ¶ 20.)

       Both Benson and Moore had been Enterprise employees for decades—but COVID-

19 changed that. (Doc. 35, ¶¶ 20, 27–28, 70, 74–75; see also Doc. 35-1, p. 2.) In April 2020,

mass layoffs began at both the Orlando and Tampa airport Enterprise locations: 108

people lost their jobs in Orlando and almost 400 people lost their jobs in Tampa. (Doc. 35,

¶¶ 85–86.) Plaintiffs were among those laid off. (Id. ¶ 84.) Benson was given no advance

written notice of her termination and Moore only six days. (Id. ¶ 6.)

       So Plaintiffs sued for WARN Act violations. (Doc. 35.) Defendants now move to

dismiss for lack of standing or personal jurisdiction over EHI and for failure to state a

claim against all Defendants. (Doc. 42.) Briefing complete, the matter is ripe. (Docs. 46,

51.)

                                  II.    LEGAL STANDARDS

       A.     Rule 12(b)(6)

       Under the minimum pleading requirements of the Federal Rules of Civil


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Procedure, plaintiffs must provide short and plain statements of their claims with simple

and direct allegations set out in numbered paragraphs and distinct counts. See Fed. R.

Civ. P. 8(a), 8(d), 10(b). If a complaint does not follow these minimum pleading

requirements, if it is barred, or if it otherwise fails to set forth a plausible claim, then it

may be dismissed under Rule 12(b)(6). See Ashcroft v. Iqbal, 556 U.S. 662, 672, 678–79 (2009)

(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)).

       B.     Rule 12(b)(1) and Rule 12(b)(2)

       Rule 12(b)(1) attacks on subject matter jurisdiction may be facial or factual.

Carmichael v. Kellogg, Brown & Root Servs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009). For

facial attacks, the Court accepts the complaint’s allegations as true. Stalley ex rel. United

States v. Orlando Reg’l Healthcare Sys. Inc., 524 F.3d 1229, 1232 (11th Cir. 2008). Factual

attacks allow a court to “consider extrinsic evidence such as deposition testimony and

affidavits.” Carmichael, 572 F.3d at 1279. Factual attacks place the burden on the plaintiff

to show that subject matter jurisdiction exists. OSI, Inc. v. United States, 285 F.3d 947, 951

(11th Cir. 2002).

       Similarly, in Rule 12(b)(2) attacks on personal jurisdiction, “[t]he plaintiff has the

burden of establishing a prima facie case of personal jurisdiction over a nonresident

defendant.” Meier ex rel. Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1268–69 (11th Cir.

2002) (citation omitted). If unrefuted, the Court accepts the well-pled facts as true. Posner

v. Essex Ins. Co., 178 F.3d 1209, 1215 (11th Cir. 1999). But if “the defendant submits

affidavits to the contrary, the burden traditionally shifts back to the plaintiff to produce


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evidence supporting jurisdiction unless those affidavits contain only conclusory

assertions that the defendant is not subject to jurisdiction.” Meier, 288 F.3d at 1269 (citing

Posner, 178 F.3d at 1215). Should the plaintiff’s complaint and supporting evidence

conflict with the defendant’s affidavits, a court “must construe all reasonable inferences

in favor of the plaintiff.” Id. (citing Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990)).

                                       III.   ANALYSIS

       A.     Standing & Personal Jurisdiction

       Defendants first attack the Court’s jurisdiction, arguing Plaintiff lacks standing

against EHI under 12(b)(1) or personal jurisdiction over EHI under 12(b)(2) because EHI

is not Plaintiffs’ employer. (Doc. 42, pp. 5–19.) Both parties agree the same analysis is

required under both 12(b)(1) and 12(b)(2): if EHI is Plaintiffs’ employer under the WARN

Act, both subject matter and personal jurisdiction exist; if not, EHI should be dismissed

as Plaintiffs have asserted no other ground for establishing jurisdiction. (See Doc. 42, pp.

5–19; Doc. 46, pp. 12, 12 n.4); see also Comeens v. HM Operating, Inc., No. 6:14-cv-00521-

JHE, 2014 WL 12650134, at *3 (N.D. Ala. Sept. 12, 2014). Defendants attack both the

adequacy of the pleadings and provide extrinsic evidence. Let’s first examine the

pleadings.

              1.      Adequacy of the Pleadings

       The WARN Act was created in part to protect employees from sudden large

layoffs by requiring significant employers “to provide adequate notice of future layoffs

to all employees before ordering a mass layoff or plant closing.” Sides v. Macon Cnty.


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Greyhound Park Inc., 725 F.3d 1276, 1280 (11th Cir. 2013). Under the WARN Act, when

determining who the “employer” is, subsidiaries may be treated as part of the parent

company if the subsidiary isn’t independent enough. See 20 C.F.R. § 639.3(a)(2); see also

Comeens v. HM Operating, Inc., No. 6:14-cv-00521-JHE, 2014 WL 12650134, at *2–3 (N.D.

Ala. Sept. 12, 2014). There are four factors courts use in determining if the subsidiary is

independent: (i) common ownership; (ii) common directors and/or officers; (iii) de facto

exercise of control; (iv) unity of personnel policies emanating from a common source; and

(v) the dependency of operations. 20 C.F.R. § 639.3(a)(2). This “joint employer” test is

“essentially a WARN Act-specific version of the common-law veil-piercing doctrine . . .

.” Comeens, 2014 WL 12650134, at *3.

       Defendants first argue Plaintiffs failed to allege enough facts establishing EHI can

is a joint employer, but this argument is unconvincing. (Doc. 42, pp. 5–17.) Both parties

agree that the first two elements—common ownership and common directors—favor

Plaintiffs but have limited significance. (Doc. 42, pp. 10–11; Doc. 46, pp. 4–5.) As to the

third—de facto control—both parties agree this factor is important, but Defendants argue

there are no allegations showing EHI exercised control, which Plaintiffs contest. (Doc. 42,

pp. 11–14; Doc. 46, pp. 9–13.) Plaintiffs have the better argument.

       Plaintiffs allege EHI terminated them without notice and the decision to do so

originated in EHI’s corporate offices. (Doc. 35, ¶¶ 59, 66–69; see also Docs. 35-1, 35-2.)

Plaintiffs attach two termination letters to the Complaint—Benson’s and that of a former

Plaintiff, Elizabeth Daggs. (Docs. 35-1, 35-2; Docs. 53–54.) The two letters are identical


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except for the signature block and contact information at the bottom. (See Doc. 35-1; cf.

Doc. 35-2.) In each letter, the employee’s supervisor purports to speak on behalf of

“Enterprise Holdings,” which the letters generally call “Enterprise,” writing “Enterprise

has realized that additional action is necessary. Accordingly, your layoff will end and

your employment with Enterprise will permanently terminate . . . .” (Id.) Defendants

argue these letters don’t support Plaintiffs’ argument because Enterprise subsidiaries also

use the fictitious name “Enterprise Holdings” when doing business and because the

phone numbers offered for contact information at the end of the letters are from Florida

and Nevada—not EHI’s corporate headquarters. (Doc. 42, pp. 11–14.) So, Defendants

argue, Plaintiffs have failed to allege EHI controlled its subsidiaries’ decisions. (Id.) Not

so. While different conclusions can be drawn from the attached letters, none are so

blatantly contradictory to Plaintiffs’ claims in the Complaint that the Court will disregard

its allegations. 1 The letters are identical and both purport to speak on behalf of

“Enterprise Holdings”—it is not a stretch to infer decisions are made at corporate

headquarters, consistent with Plaintiffs’ allegations. (See Docs. 35-1, 35-2; see also Doc. 35,

¶¶ 59, 66–69.) So, as alleged, this third factor favors Plaintiff.

       As to the remaining two factors—unity of personnel policies and dependency of

operations—Plaintiffs have alleged enough facts showing these also weigh in their favor.



       1   Even the additional letter Defendants attach to their Motion doesn’t cause
Plaintiffs’ allegations to “crumble,” as Defendants argue. (Doc. 42, pp. 13, 50.) Again, the
letter is substantially similar to the letters Plaintiffs attach to the Complaint, and purport
to be on behalf of “Enterprise” and “Enterprise Holdings.” (See id. at 50.) Nothing in the
letter contradicts Plaintiffs’ well-pled factual allegations.
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(See Doc. 35, ¶¶ 52–65.) “In the context of the WARN Act, the decision to effect a mass

layoff is the single most important personnel policy.” Vogt v. Greenmarine Holding, LLC,

318 F. Supp. 2d 136, 143 (S.D.N.Y. 2004). And besides alleging EHI effected the mass

layoffs, Plaintiffs allege EHI disseminates employment policies and resources, including

policies on employee benefits, hiring, advancement, and salaries to its subsidiaries. (Doc.

35, ¶¶ 55–57, 59.) So Plaintiffs have alleged a unity of personnel policies. Plaintiffs also

allege a dependency of operations, claiming EHI supplies administrative services and

support to Enterprise Florida and Enterprise Orlando, all maintain an interconnected

email plan, and all depend on the same health plan. (Id. ¶¶ 61–65.) Taken together,

Plaintiffs have alleged all five factors under the WARN Act’s joint employer test favor

Plaintiff and that EHI is considered their employer on these claims. See Mowat v. DJSP

Enters., Inc., No. 10-62302-CIV, 2011 WL 13214330, at *3–4 (S.D. Fla. Apr. 28, 2011); see also

20 C.F.R. § 639.3(a)(2).

              2.      Extrinsic Evidence

       The inquiry doesn’t end there, however, because besides attacking Plaintiffs’

allegations, Defendants also launch a factual attack, submitting affidavits that contradict

the Complaint. (See Doc. 42, pp. 17–19, 35–50.) But can the Court consider this extrinsic

evidence? Plaintiffs, who submit no extrinsic evidence of their own, say this evidence

can’t be considered at the pleadings stage. (Doc. 46, p. 3.) Defendants say it can because

EHI is asserting jurisdictional defects (lack of standing and personal jurisdiction). (Doc.

42, pp. 17–19.)


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       First, lack of standing. While a court can consider extrinsic evidence on a subject

matter jurisdictional challenge, if the challenge “implicate[s] the merits of the underlying

claim” courts should “find that jurisdiction exists and deal with the objection as a direct

attack on the merits.” Morrison v. Amway Corp., 323 F.3d 920, 925 (11th Cir. 2003) (cleaned

up). If Defendants’ attack implicates the merits of Plaintiffs’ WARN Act claim, the Court

must treat the Motion as a motion for summary judgment and allow Plaintiff the

opportunity for discovery. See id. And Defendants’ attack does.

       To succeed on their WARN Act claim, Plaintiffs must be able to prove there was

“an employer who fired employees.” Sides, 725 F.3d at 1281 (quotation marks and citation

omitted). Under many similar statutes—the Age Discrimination in Employment Act and

the Family Medical Leave Act, for instance, where “employer status is a substantive

element of [the] claim,”—an “’employee status implicates both jurisdiction and the

merits, and is properly reserved for the finder of fact.” Morrison, 323 F.3d at 925–28

(cleaned up). As the employer-employee relationship is a substantive element of a WARN

Act claim, Defendants’ attack implicate the merits of Plaintiffs’ cause of action and the

Motion must be treated as a motion for summary judgment. See id. So the Court can

consider the extrinsic evidence, but it must do so under the standards and protections of

Federal Rule of Civil Procedure 56 and Plaintiffs must have a chance to conduct limited

jurisdictional discovery and respond. See Simpson v. Holder, 184 F. App’x 904, 909–10 (11th

Cir. 2006); see also Douglas v. United States, 814 F.3d 1268, 1274–75 (11th Cir. 2016).

Similarly, with personal jurisdiction, “[f]ederal courts have generally authorized


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jurisdictional discovery antecedent to resolving Rule 12(b)(2) motions to dismiss for want

of personal jurisdiction.” Court-Appointed Receiver for Lancer Mgmt. Grp. LLC v. Cable Rd.

Invs. Ltd., No. 05-60145-Civ-MARRA/SELTZER, 2007 WL 9698235, at *2 (S.D. Fla. Jan. 17,

2007); see also Seiz v. Quirk, No. 4:12-CV-272-HLM, 2013 WL 12290850, at *2–3 (N.D. Ga.

Jan. 3, 2013). So the Court denies the Motion with respect to EHI but the denial is without

prejudice. Plaintiffs may move to request jurisdictional discovery if they wish to rebut

Defendants’ factual assertions in its affidavits and exhibits; after the close of jurisdictional

discovery (or if Plaintiffs decline to request jurisdictional discovery), Defendants may

refile their Motion and the Court will then make a final determination whether Plaintiffs

have established both subject matter and personal jurisdiction over EHI.

       B.     Failure to State a Claim

       Defendants also move to dismiss the Complaint for failing to state a WARN Act

claim under Federal Rule of Civil Procedure 12(b)(6). (Doc. 42, pp. 19–25.) A WARN Act

claim has three elements: “(1) a mass layoff or plant closing as defined by the statute

conducted by (2) an employer who fired employees (3) who, pursuant to WARN, are

entitled to notice.” Sides, 725 F.3d at 1281 (cleaned up). Under the WARN Act, employees

are entitled to a 60-day notice unless the employer can show that one of several

affirmative defenses applies. See 29 U.S.C. § 2102(a), (b); 20 C.F.R. § 639.9; see also Carver

v. Foresight Energy LP, No. 3:16-cv-3013, 2016 WL 3812376, at *3 (C.D. Ill. July 12, 2016).

Defendants claim two defenses apply—the “natural disaster” defense and the

“unforeseeable business circumstances” defense. (Doc. 42, pp. 12–25.)


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        Plaintiffs aren’t “required to negate an affirmative defense in [their] complaint.”

 Twin City Fire Ins. Co. v. Hartman, Simons & Wood, LLP, 609 F. App’x 972, 976 (11th Cir.

 2015) (citation omitted). And typically, “the existence of an affirmative defense will not

 support a motion to dismiss.” Id. (citation omitted). However, dismissal is appropriate

 “when the existence of an affirmative defense clearly appears on the face of the

 complaint.” Id. (cleaned up). Here, Defendants argue their two defenses appear on the

 face of the Complaint and dismissal is appropriate. (Doc. 42, pp. 19–25.) Not so.

        First, the natural disaster defense. Under the WARN Act, no notice is required “if

 the plant closing or mass layoff is due to any form of natural disaster, such as a flood,

 earthquake, or the drought currently ravaging the farmlands of the United States.” 29

 U.S.C. § 2102(b)(2)(B). “To qualify for this exception, an employer must be able to

 demonstrate that its plant closing or mass layoff is a direct result of a natural disaster.” 20

 C.F.R. § 639.9(c)(2) (emphasis added). Defendants argue COVID-19 is a natural disaster,

 relieving it of the WARN Act’s notice requirements. (Doc. 42, pp. 20–21.) But while

 COVID-19 may be a natural disaster within the meaning of the WARN Act, the

 Complaint does not allege the layoffs resulted directly from the pandemic. The

 Complaint (and unfortunate experience) shows a more tenuous connection: COVID-19

 caused global concern over the spread of the virus, leading to a global shutdown—travel

 stalled, as did economies. (See Doc. 35-1, p. 2.) So fewer people traveled, fewer people

 flew—and fewer people rented cars from Enterprise in Orlando’s and Tampa’s airports.

 Enterprise experienced “a dramatic downturn in business” and Plaintiffs were laid off.


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 (See id.) This isn’t a situation where, for example, a factory was destroyed overnight by a

 massive flood—that would be a “direct result” of a natural disaster. This is an indirect

 result—more akin to a factory that closes after nearby flooding depressed the local

 economy. Defendants’ facilities or staff didn’t disappear overnight, suddenly wiped out.

 Instead, COVID-19 caused changes in travel patterns and an economic downturn, which

 affected Defendants—so the natural disaster defense doesn’t apply; rather, the

 “unforeseeable business circumstances exception” is the proper focus.

       This interpretation finds support in the WARN Act regulations and Department

 of Labor (“DOL”) guidance. 2 Where the layoffs occur “as an indirect result of a natural

 disaster, the [natural disaster] exception does not apply but the ‘unforeseeable business

 circumstance’ exception . . . may be applicable.” 20 C.F.R. § 639.9(c)(4). And a COVID-19

 “frequently asked questions” packet promulgated by the DOL for the WARN Act states

 COVID-19 may constitute an “unforeseeable business circumstance,” never once

 referencing the natural disaster exception—a deafening silence given the document’s

 topic. U.S. Dep’t of Labor, Worker Adjustment and Retraining Notifications Act Frequently

 Asked Questions, available at https://www.dol.gov/agencies/eta/layoffs/warn (last

 accessed Dec. 29, 2020), [hereinafter DOL COVID-19 FAQs]. So the natural disaster

 defense doesn’t apply from the face of the Complaint and the Court turns to the more-




       2 This guidance is not binding on the Court but the Court finds the DOL’s
 perspective helpful. U.S. Dep’t of Labor, Worker Adjustment and Retraining Notifications
 Act      Frequently       Asked       Questions,     p.      2,      available        at
 https://www.dol.gov/agencies/eta/layoffs/warn (last accessed Dec. 29, 2020).
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 applicable “unforeseeable business circumstances” defense.

        Here, Plaintiffs have alleged facts showing this defense may apply. (See Doc. 35-1,

 p. 2); 20 C.F.R. § 639.9(b), (c)(4); DOL COVID-19 FAQs. But dismissal is not warranted

 because under this defense, unlike the natural disaster defense, the WARN Act doesn’t

 waive the notice requirement but softens it: employers are only required to “give as much

 notice as is practicable.” See 29 U.S.C. § 2102(b)(2)(A), (b)(3); Sides, 725 F.3d at 1284–85.

 Benson received no advance notice, Moore only six days. (Doc. 35, ¶ 6.) Nothing in the

 Complaint or attached documents clarify Defendants couldn’t have given more notice, as

 required by statute. (See Doc. 35); Twin City Fire Ins. Co, 609 F. App’x at 976. Exactly when

 Defendants had to give notice will doubtless be a hotly contested factual issue, but at this

 stage, taking the allegations in the Complaint as true, Plaintiff has stated a claim for a

 WARN Act violation. See Sides, 725 F.3d at 1284–85. Defendants’ Motion is denied.

                                    IV.     CONCLUSION

        It is ORDERED AND ADJUDGED:

        1.     Defendants’ Dispositive Motion to Dismiss Plaintiffs’ First Amended

               Complaint (Doc. 42) is DENIED, as follows:

               a.     Defendants’ motion to dismiss Defendant Enterprise Holdings, Inc.

                      for lack of standing and personal jurisdiction is DENIED

                      WITHOUT PREJUDICE;

               b.     In all other respects, the Motion is DENIED.




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       2.    By Thursday, January 14, 2021 Plaintiffs may file a motion with the Court

             seeking jurisdictional discovery on the relationship between Defendant

             Enterprise Holdings, Inc. and its subsidiaries, Defendants Enterprise

             Leasing Company of Florida, LLC and Enterprise Leasing Company of

             Orlando, LLC, to determine if Enterprise Holdings, Inc. is Plaintiffs’

             employer under the WARN Act. Failure to file may foreclose Plaintiffs’

             opportunity to provide additional evidence of personal and subject matter

             jurisdiction.

       DONE AND ORDERED in Chambers in Orlando, Florida, on January 4, 2021.




 Copies to:
 Counsel of Record




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